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                              UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEW JERSEY
                                              (973) 776-7700
            CHAMBERS OF                                                         U.S. COURTHOUSE
    JAMES B. CLARK, III                                                         50 WALNUT ST. ROOM 2060
UNITED STATES MAGISTRATE JUDGE                                                  NEWARK, NJ 07102




                                              August 4, 2022

                                             LETTER ORDER

      Re:      REDI-DATA, INC. v. THE SPAMHAUS PROJECT
               Civil Action No. 20-17484 (JMV)

      Dear Counsel,

      The Court will conduct a telephone conference with the parties in this matter on September 27,

  2022 at 12:30 PM. Counsel for Plaintiff shall initiate the call. By no later than September 21, 2022,

  the parties shall submit a joint letter of three (3) pages or less setting forth the current status of the

  jurisdictional discovery along with any issues to be discussed during the conference.


      IT IS SO ORDERED.

                                                            s/ James B. Clark, III
                                                        JAMES B. CLARK, III
                                                        United States Magistrate Judge
